Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 1 of 28




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


 ARANTZA CASTRO,                                              CASE NO.

        Plaintiff,

 vs.

 COTTON ON USA, INC.,
 A Foreign for-profit Corporation,
 D/B/A COTTON ON,

       Defendant.
 ____________________________________________/

                         COMPLAINT FOR DECLARATORY AND
                     INJUNCTIVE RELIEF, AND JURY TRIAL DEMAND

        Plaintiff, ARANTZA CASTRO, through undersigned counsel, sues Defendant, COTTON

 ON USA, INC., a foreign for-profit corporation d/b/a COTTON ON (hereinafter referred to as

 “COTTON ON”), for declaratory and injunctive relief, and damages, and alleges as follows:

 This action is brought under Title III of the Americans with Disabilities Act (“ADA”), that is

 codified in 42 U.S.C. §§12181-12189.

 1)     This action is also brought pursuant to 28 C.F.R. Part 36.

 2)     This Court has jurisdiction over this case based on federal question jurisdiction, as provided

 in 28 U.S.C. §1331 and the provisions of the ADA.

 3)     Furthermore, because this Court has jurisdiction over the ADA claim, the Court has

 supplementary jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

 4)     Plaintiff is sui juris, and she is disabled as defined by the ADA and ADA Amendments Act

 of 2008, 42 U.S.C. §12101 (“ADAAA”).

 5)     Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.
                                                  1
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 2 of 28




 6)     Plaintiff desires to prevent discrimination and demands equal access to Defendant’s

 internet website to purchase a teddy bomber.

 7)     Plaintiff also seeks declaratory and injunctive relief for trespass against the Plaintiff’s

 computer. The computer is Plaintiff’s personal property, and a claim for trespass attached to same.

 8)     The Defendant is also liable for compensatory damages to Plaintiff as a result of the

 trespass to Plaintiff’s personal property.

 9)     The remedies provided under common law for trespass are not exclusive, and same may

 be sought in connection with suits brought under the ADA.

 10)    Venue is proper in the Southern District of Florida, Miami-Dade Division, since all events,

 actions, injuries, and damages complained of herein occurred in the Southern District of Florida.

 11)    Furthermore, Plaintiff is a resident of Miami-Dade County which falls within the Miami

 Division of the Southern District of Florida.

 12)    At all relevant times, Plaintiff is and was visually impaired and has Leber Congenital

 Amaurosis since birth that substantially impairs Plaintiff’s vision whereby her vision fluctuates

 from 20/250 to 20/800.

 13)    Plaintiff’s visual impairment interferes with her day-to-day activities and causes limitations

 in visualizing her environment. As such, Plaintiff is a member of a protected class under the ADA,

 42 U.S.C. § 12102(1) - (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

 et seq., and in 42 U.S.C. 3602, §802(h).

 14)    In addition, Plaintiff is an advocate of the rights of similarly situated disabled persons. As

 such is a “tester” for the purposes of asserting her civil rights and monitoring, ensuring, and

 determining whether places of public accommodation and/or their respective and associated


                                                  2
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 3 of 28




 websites are in compliance with the ADA and any other applicable disability laws, regulations,

 and ordinances.

 15)    Plaintiff is limited in the performance of major life activities due to her visual disability

 and she requires assistive technologies, auxiliary aids, and services for effective communication,

 including communication in connection with her use of a computer.

 16)    Plaintiff uses the computer regularly, but due to her visual disability, Plaintiff cannot use

 her computer without the assistance of appropriate and available auxiliary aids, screen reader

 software, and other technology and assistance. In order to assist her, Plaintiff uses NVDA screen

 reader software that is readily available commercially. As background, screen reader software

 translates the visual internet into an auditory equivalent. The software reads the content of a

 webpage to the user at a rapid pace.

 17)    “The screen reading software uses auditory cues to allow a visually impaired user to

 effectively use websites. For example, when using the visual internet, a seeing user learns that a

 link may be ‘clicked,’ which will bring her to another webpage, through visual cues, such as a

 change in the color of the text (often text is turned from black to blue). When the sighted user's

 cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

 software uses auditory -- rather than visual -- cues to relay this same information. When a sight

 impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

 and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

 read aloud by the screen reader, the visually impaired user can navigate a website by listening and

 responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).


                                                  3
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 4 of 28




 18)    Plaintiff frequently accesses the internet. Because she is significantly and permanently

 visually disabled, to effectively communicate and comprehend information available on the

 internet and thereby access and comprehend websites, Plaintiff uses commercially available screen

 reader software to interface with the various websites.

 19)    Defendant, COTTON ON, is a foreign for-profit corporation authorized to do business and

 doing business in the State of Florida.

 20)    Defendant, COTTON ON, is a company that sells men, and women’s clothing, shoes,

 denim, activewear, sleepwear, swimwear, and accessories. There is a retail location in Miami-

 Dade County.

 21)    At all times material hereto, Defendant was and still is a private entity which owns and

 operates retail locations under the brand name “COTTON ON”. The stores are open to the public,

 and each of Defendant’s locations is defined as a “public accommodation" within the meaning of

 Title III of the ADA because Defendant is a private entity which owns and/or operates “[A] bakery,

 grocery store, clothing store, hardware store, shopping center, or other sales or rental

 establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

 22)    Because Defendant is a store open to the public, each of Defendant’s physical stores is a

 place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

 §12181(7)(B), and its implementing regulations, 28 C.F.R. Part 36.

 23)    At all times material hereto, Defendant was and still is an organization owning and

 operating the website located at https://cottonon.com/. Since the website is open through the

 internet to the public as an extension of the retail stores, by this nexus the website is an intangible

 service, privilege and advantage of Defendant’s brick and mortar locations, the Defendant has

 subjected itself and the associated website it created and maintains to the requirements of the ADA.
                                                   4
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 5 of 28




 The website also services Defendant’s physical stores by providing information on its brand and

 other information that Defendant is interested in communicating to its customers about its physical

 locations.

 24)    Since the website allows the public the ability to view the products available at Defendant’s

 locations, purchase products, through Defendant’s website, subscribe to Defendant’s newsletter,

 create an account and register to track orders, create a wish list, and learn the story behind

 Defendant’s brand, the website is an extension of, and gateway to, Defendant’s physical stores

 which are places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E). By this nexus

 between Defendant’s retail store locations and the Website, and the fact that the Website clearly

 provides support for and is connected to Defendant’s stores for its operation and use, the Website

 is an intangible service, privilege, and advantage of Defendant’s brick-and-mortar stores that must

 comply with all requirements of the ADA. The Website must not discriminate against individuals

 with disabilities, and must not deny those individuals the same full and equal access to and

 enjoyment of the goods, services, privileges, and advantages as afforded the non-visually disabled

 public both online and in the physical stores, which are places of public accommodations subject

 to the requirements of the ADA.

 25)    Plaintiff sought to, seeks to and intends to patronize, in the near future once the Website’s

 access barriers are removed or remedied, one or more of Defendant’s physical retail locations,

 check store hours and product pricing and place online orders. In the alternative, Plaintiff intends

 to monitor the Website in the near future as a tester to ascertain whether it has been remedied and

 updated to interact properly with screen reader software.

 26)    Traveling outside of her home as a visually disabled individual is often a difficult,

 hazardous, frightening, frustrating, and confusing experience, thus the opportunity to shop and pre-
                                                  5
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 6 of 28




 shop Defendant’s products, plan her visits, and to compare products, services, prices, sales,

 discounts, and promotions are important and necessary accommodations for Plaintiff because

 Defendant has not provided its business information in any other digital format that is accessible

 for use by blind and visually disabled individuals using screen reader software.

 27)    During the month of December 2023, Plaintiff attempted on a number of occasions to

 utilize the Website to browse through the merchandise and online offers to educate herself as to

 the merchandise, sales, discounts, and promotions being offered, learn about the brick-and-mortar

 location, check store hours, and check product pricing with the intent to make a purchase through

 the Website or in one of the physical locations and with the intent to make a purchase through the

 website or at one of Defendant’s physical stores. Plaintiff also attempted to access and utilize the

 Website in her capacity as a tester to determine whether it was accessible to blind and visually

 disabled persons such as herself who use screen reader software to access and navigate company

 websites.

 28)    Plaintiff utilized NVDA (“Screen Reader Software”) that allows individuals who are blind

 and visually disabled to communicate with websites. However, Defendant’s Website contains

 access barriers that prevent free and full use by blind and visually disabled individuals using

 keyboards and available screen reader software. Plaintiff attempted to purchase clothing on

 Defendant’s website. However, the Plaintiff was not able to freely and fully use Defendant’s

 website because it contains access barriers that make it inaccessible to persons with disabilities,

 and for which there is no reasonable accommodation for the Plaintiff.

 29)    Defendant’s Website contains access barriers that prevent free and full use by blind and

 visually disabled individuals using keyboards and available screen reader software. These barriers

 are pervasive and include, but are not limited to:
                                                  6
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 7 of 28




       Cotton On: https://cottonon.com/US/



       System settings while doing the review:



       Operating system: Windows 10

       Browser: Google Chrome v. 119.0.6045.200

       Screen Readers: NVDA v. 2023.3



       List of violations encountered:



       Violation 01: When the user activates a color filter by hitting Enter (e.g. Blue) there is no

       audible confirmation that the button has been activated and the corresponding filter has

       been applied. The user has no way of knowing that they have successfully applied a filter.

       Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

       URL Where Issue Was Encountered: https://cottonon.com/US/co/women/women-

       clothing/womens-coats-jackets/?srule=New%20In%20filter&start=0&sz=60#main

       Screen Capture Evidence:

       https://www.dropbox.com/scl/fi/2x03jgr0r367n3r89sqwm/2023_11_28_165945_01.mp4?

       rlkey=8xk893c1hvxvfc970qcvxa881&dl=0



       Violation 02: Within the breadcrumb corresponding to the color filter that has been

       applied, the audible label rendered for the Blue filter is void zero link menu item. The


                                                 7
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 8 of 28




       information provided by this label does not allow the user to determine what this link is

       about.

       Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

       URL Where Issue Was Encountered: https://cottonon.com/US/co/women/women-

       clothing/womens-coats-

       jackets/?prefn1=refinementColor&prefv1=Blue&srule=New%201n%20filter

       Screen Capture Evidence:

       https://www.dropbox.com/scl/fi/2x063b5c1hcb35tvqlkuc/2023_11_28_165945_02.mp4?

       rlkey=g2h9x4cj5n68ynuojtwsd1xj6&dl=0



       Violation 03: Within the product thumbnail on the product results page, the color options

       available has a plus two audible label. The information provided by this label does not

       allow the user to determine what color options are available.

       Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

       URL Where Issue Was Encountered: https://cottonon.com/US/co/women/women-

       clothing/womens-coats-

       jackets/?prefn1=refinementColor&prefv1=Blue&srule=New%201n%20filter

       Screen Capture Evidence:

       https://www.dropbox.com/scl/fi/0kt5adb9200ot3x5s35kx/2023_11_28_165945_03.mp4?

       rlkey=hzlk6u49wxmelgf8ca1aj64tz&dl=0



       Violation 04: Within the Size Guide, when the user activates the unit buttons (e.g. CM or

       IN) there is no audible confirmation that the button has been activated and the
                                                8
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 9 of 28




       corresponding information is being displayed. The user has no way of knowing that they

       have successfully switched to the desired unit.

       Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

       URL Where Issue Was Encountered: https://cottonon.com/US/girlfriend-denim-

       jacket/2001752-39.html?dwvar_2001752-39_color=2001752-39&cgid=womens-coats-

       jackets&originalPid=2001752-

       39#pmin=40.00&pmax=60.02&prefn1=refinementColor&prefv1=Blue&srule=New%20I

       n%20filter&start=2&sz=60

       Screen Capture Evidence:

       https://www.dropbox.com/scl/fi/h8wk2o6tddp4cjunyk616/2023_11_28_165945_04.mp4

       ?rlkey=6vixq3h3crdetj7dch6m5hlis&dl=0



       Violation 05: Within the Size Guide, the button for closing the modal has a 200175239

       200175239 co audible label. The information provided by this label does not allow the

       user to determine what this link is about.

       Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

       URL Where Issue Was Encountered: https://cottonon.com/US/girlfriend-denim-

       jacket/2001752-39.html?dwvar_2001752-39_color=2001752-39&cgid=womens-coats-

       jackets&originalPid=2001752-

       39#pmin=40.00&pmax=60.02&prefn1=refinementColor&prefv1=Blue&srule=New%20I

       n%20filter&start=2&sz=60




                                                9
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 10 of 28




        Screen Capture Evidence:

        https://www.dropbox.com/scl/fi/99iimxeite0y3c0mhgprp/2023_11_28_165945_05.mp4?r

        lkey=r478c0cpt2wdhjxwlzoy16b5c&dl=0



        Violation 06: When a user adds an item to their shopping bag the audible label rendered

        is blank. The information provided by this label does not confirm to the user that the item

        has been added to the shopping bag.

        Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

        URL Where Issue Was Encountered: https://cottonon.com/US/girlfriend-denim-

        jacket/2001752-39.html?dwvar_2001752-39_color=2001752-39&cgid=womens-coats-

        jackets&originalPid=2001752-

        39#pmin=40.00&pmax=60.02&prefn1=refinementColor&prefv1=Blue&srule=New%20I

        n%20filter&start=2&sz=60

        Screen Capture Evidence:

        https://www.dropbox.com/scl/fi/7hlo7rcyvps4nf2gp23o8/2023_11_28_165945_06.mp4?r

        lkey=udtpjkol8hey4z56hke75bfog&dl=0



        Violation 07: When a user activates or deactivates the You might also like button within

        the shopping bag page the audible label rendered is You might also like. The information

        provided by this label does not confirm whether the section containing the items that the

        user might also like is expanded or collapsed.

        Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

        URL Where Issue Was Encountered: https://cottonon.com/US/bag/#main
                                                10
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 11 of 28




        Screen Capture Evidence:

        https://www.dropbox.com/scl/fi/6sojwe9u2fid5q046jsgu/2023_11_28_165945_07.mp4?r

        lkey=4wif85jbvnmgr92p35co675s8&dl=0



        Violation 08: When the user cycles through the delivery options available (e.g. Express

        Delivery and Standard Delivery) there is no audible confirmation (e.g. selected) that the

        button corresponding to either delivery option is active. The user has no way of knowing

        what delivery option is being applied.

        Applicable WCAG 2.2 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level A).

        URL Where Issue Was Encountered: https://cottonon.com/US/checkout/?bagpage=true

        Screen Capture Evidence:

        https://www.dropbox.com/scl/fi/s3j24q0vqpqvpht9x5hpy/2023_11_28_165945_08.mp4?

        rlkey=f9eaanypt4pl14p8bdneiixch&dl=0



        Violation 09: When an input error is automatically detected, the item that is in error is not

        described to the user in an audible format. When a user inputs an incorrect or not valid

        promo code there is no audible message describing the error.

        Applicable WCAG 2.2 Standard at Issue: Standard 3.3.1 Error Identification (Level A).

        URL Where Issue Was Encountered: https://cottonon.com/US/checkout/?bagpage=true

        Screen Capture Evidence:

        https://www.dropbox.com/scl/fi/eck0fp8rjg6ab992tbyrq/2023_11_28_165945_09.mp4?rl

        key=vre5clim788uit74idmsp0ycn&dl=0


                                                 11
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 12 of 28




         Violation 10: When an input error is automatically detected, the item that is in error is not

         described to the user in an audible format. During checkout, when a user inputs an invalid

         credit card number within the PAYMENT section there is no audible message describing

         the error. The existence of the error causes the Place Your Order button to become

         inactive.

         Applicable WCAG 2.2 Standard at Issue: Standard 3.3.1 Error Identification (Level A).

         URL Where Issue Was Encountered: https://cottonon.com/US/checkout/?bagpage=true

         Screen Capture Evidence:

         https://www.dropbox.com/scl/fi/3tsi5usjzpe3hjda1mn81/2023_11_28_165945_10.mp4?rl

         key=uia5nbrmdalx4e477en6lvn56&dl=0

  30)    Although the Website appeared to have an “accessibility” statement displayed and an

  “accessibility” widget/plugin added, the “accessibility” statement and widget/plugin, when tested,

  still could not be effectively accessed by, and continued to be a barrier to, blind and visually

  disabled persons, including Plaintiff as a completely blind person. Plaintiff, although she attempted

  to access the statement, thus, was unable to receive any meaningful or prompt assistance through

  the “accessibility” statement and the widget/plugin to enable her to quickly, fully, and effectively

  navigate the Website.

  31)    The fact that Plaintiff could not communicate with or within the Website left her feeling

  excluded, as she is unable to participate in the same shopping experience, with the same access to

  the merchandise, sales, discounts, and promotions, as provided at the Website and in the physical

  locations as the non-visually disabled public.

  32)    Plaintiff desires and intends, in the near future once the Website’s access barriers are

  removed or remedied, to patronize one or more of Defendant’s physical stores and to use the
                                                   12
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 13 of 28




  Website, but she is presently unable to do so as she is unable to effectively communicate with

  Defendant, due to her severe visual disability and the Website’s access barriers. Alternatively, as

  a tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendant through the Website due to her severe visual disability and the

  Website’s access barriers. Thus, Plaintiff, as well as others who are blind and with visual

  disabilities, will suffer continuous and ongoing harm from Defendant’s intentional acts, omissions,

  policies, and practices as set forth herein unless properly enjoined by this Court.

  33)     On information and belief, Defendant has not initiated a Web Accessibility Policy to ensure

  full and equal use of the Website by individuals with disabilities.

  34)     On information and belief, Defendant has not instituted a Web Accessibility Committee to

  ensure full and equal use of Website by individuals with disabilities.

  35)     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

  36)     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

  37)     On information and belief, Defendant has not instituted a User Accessibility Testing Group

  to ensure full and equal use of the Website by individuals with disabilities.

  38)     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

  39)     On information and belief, Defendant has not instituted an Automated Web Accessibility

  Testing program.


                                                   13
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 14 of 28




  40)    Defendant has not created and instituted an effective Specialized Customer Assistance line

  or service or email contact mode for customer assistance for the visually disabled.

  41)    Defendant has not created and instituted on the Website a useful or accessible page for

  individuals with disabilities, nor displayed a link and information hotline, nor created an

  information portal explaining when and how Defendant will have the Website, applications, and

  digital assets accessible to the visually disabled or blind community.

  42)    The Website does not meet the Web Content Accessibility Guidelines (“WCAG”) 2.0

  Level AA or higher versions of web accessibility.

  43)    Defendant has not disclosed to the public any intended audits, changes, or lawsuits to

  correct the inaccessibility of the Website to visually disabled individuals who want the safety and

  privacy of purchasing Defendant’s products offered on the Website and in the physical stores from

  their homes.

  44)    Defendant thus has not provided full and equal access to and enjoyment of the goods,

  services, facilities, privileges, advantages, and accommodations provided by and through the

  Website and their physical stores in contravention of the ADA.

  45)    Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.

  46)    The broad mandate of the ADA is to provide an equal opportunity for individuals with

  disabilities to participate in and benefit from all aspects of American civic and economic life. That

  mandate extends to internet shopping websites such as the Website at issue in the instant action.




                                                    14
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 15 of 28




  47)     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

  48)     Defendant is, and at all relevant times has been, aware of the need to provide full access to

  all visitors to the Website.

  49)     The barriers that exist on the Website result in discriminatory and unequal treatment of

  individuals with visual disabilities, including Plaintiff.

  50)     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

  hereinabove, and this suit for declaratory judgment and injunctive relief is her only means to secure

  adequate and complete redress from Defendant’s unlawful and discriminatory practices in

  connection with its website access and operation.

  51)     Notice to Defendant is not required because of Defendant’s failure to cure the violations.

  52)     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

  §§2201 and 2202.

  53)     Plaintiff has retained the undersigned attorneys to represent her in this case and has agreed

  to pay them a reasonable fee for their services.



  COUNT I – VIOLATION OF THE ADA

  54)     Plaintiff realleges paragraphs 1 through 53 as if set forth fully herein.

  55)     Pursuant to 42 U.S.C. §12181(7)(B), Defendant is a public accommodation under the ADA

  and thus is subject to the ADA.

  56)     Pursuant to 42 U.S.C. §12181(7)(B), the Website is covered under the ADA because it

  provides the general public with the ability to view the products available at Defendant’s locations,
                                                     15
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 16 of 28




  purchase products through Defendant’s website, subscribe to Defendant’s newsletter, create an

  account and register to track orders, create a wish list, and learn the story behind Defendant’s

  brand. The Website thus is an extension of, gateway to, and intangible service, privilege, and

  advantage of Defendant’s physical locations. Further, the Website also serves to augment

  Defendant’s physical stores by providing the public information about the stores and by educating

  the public as to Defendant’s brand and available products merchandise sold through the Website

  and in the physical stores.

  57)    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful discrimination

  to deny individuals with disabilities or a class of individuals with disabilities an opportunity to

  participate in or benefit from the goods, services, facilities, privileges, advantages, or

  accommodation, which is equal to the opportunities afforded to other individuals.

  58)    Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

  59)    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of


                                                  16
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 17 of 28




  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

  60)    The Website must comply with the ADA, but it does not as specifically alleged hereinabove

  and below.

  61)    Because of the inaccessibility of the Website, individuals with visual disabilities are denied

  full and equal access to and enjoyment of the goods, information, and services that Defendant has

  made available to the public on the Website and in their physical stores in violation of 42 U.S.C.

  §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

  62)    The Website was subsequently visited by Plaintiff’s expert in December and the expert

  determination was that the same access barriers that Plaintiff had initially encountered, as well as

  numerous additional access barriers, existed. Defendant thus has made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

  to, blind and visually disabled persons such as Plaintiff. Also, when the Website was visited by

  the expert, although the Website appeared to have an “accessibility” statement and widget/plugin

  linked on and displayed from its home page, the “accessibility” statement and widget/plugin, when

  tested, still could not be effectively used or accessed by, and continued to be a barrier to, blind and

  visually disabled persons such as Plaintiff. Defendant furthermore has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

  disabled individuals, nor has it posted on the Website an effective and useful “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable

  alternative means to access and navigate the Website. Defendant thus has failed to make reasonable

  modifications in its policies, practices, or procedures when such modifications are necessary to

  afford goods, services, facilities, privileges, advantages, or accommodations to individuals with
                                                    17
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 18 of 28




  disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility”

  notice, policy, or statement and the numerous access barriers as set forth in the Declaration of

  Plaintiff’s expert, Raul Marquez, attached hereto and the contents of which are incorporated herein

  by reference, continue to render the Website not fully accessible to users who are blind and visually

  disabled, including Plaintiff.

  63)    More violations may be present on other pages of the Website, which can and will be

  determined and proven through the discovery process in this case.

  64)    There are readily available, well-established guidelines on the internet for making Websites

  accessible to the blind and visually disabled. These guidelines have been followed by other large

  business entities in making their websites accessible. Examples of such guidelines include, but are

  not limited to, adding alt-text to graphics and ensuring that all functions can be performed using a

  keyboard. Incorporating such basic components to make the Website accessible would neither

  fundamentally alter the nature of Defendant’s business nor would it result in an undue burden to

  Defendant.

  65)    Defendant has violated the ADA -- and continue to violate the ADA -- by denying access

  to the Website by individuals such as Plaintiff with visual disabilities who require the assistance

  of interface with screen reader software to comprehend and access internet websites. These

  violations within the Website are ongoing.

  66)    The ADA requires that public accommodations and places of public accommodation

  ensure that communication is effective.

  67)    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice, text, and

  video-based telecommunications products and systems”. Indeed, 28 C.F.R.§36.303(b)(2)


                                                   18
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 19 of 28




  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

  68)    According to 28 C.F.R. §36.303(c), public accommodations must furnish appropriate

  auxiliary aids and services where necessary to ensure effective communication with individuals

  with disabilities: “In order to be effective, auxiliary aids and services must be provided in

  accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

  69)    Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle A

  of Title III of the ADA, which prohibits discrimination on the basis of disability by public

  accommodations, and requires places of public accommodation to be designed, constructed, and

  altered in compliance with the accessibility standards established by Part 36.

  70)    As alleged hereinabove, the Website has not been designed to interface with the widely

  and readily available technologies that can be used to ensure effective communication, and thus

  violates the ADA.

  71)    As a direct and proximate result of Defendant’s failure to provide an ADA compliant

  Website, with a nexus to their brick-and-mortar stores, Plaintiff has suffered an injury in fact by

  being denied full access to, enjoyment of, and communication with Defendant’s Website and its

  physical stores.

  72)    Because of the inadequate development and administration of the Website, Plaintiff is

  entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

  73)    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

  appropriate and necessary injunctive relief, including an order to:
                                                  19
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 20 of 28




         i.     Require Defendant to adopt and implement a web accessibility policy to make

         publicly available and directly link from the homepage of the Website to a functional

         statement as to the Defendant’s policy to ensure persons with disabilities have full and

         equal access to and enjoyment of the goods, services, facilities, privileges, advantages,

         and accommodations through the Website and the physical locations.

         ii.    Require Defendant to take the necessary steps to make the Website readily

         accessible to and usable by blind and visually disabled users, and during that time period

         prior to the Website’s being made readily accessible, provide an effective alternative

         method for individuals with visual disabilities to access the information available on the

         Website until such time that the requisite modifications are made, and

         iii.   Require Defendant to provide the appropriate auxiliary aids such that individuals

         with visual disabilities will be able to effectively communicate with the Website for

         purposes of viewing and locating Defendant’s stores and becoming informed of and

         purchasing Defendant’s products, and during that time period prior to the Website’s being

         designed to permit individuals with visual disabilities to effectively communicate, to

         provide an alternative method for individuals with visual disabilities to effectively

         communicate for such goods and services made available to the general public through

         the Website and the physical stores.

         iv.    Plaintiff is entitled to recover her reasonable attorney’s fees, costs, and expenses

         pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned

         counsel for the filing and prosecution of this action and has agreed to pay them a

         reasonable fee for their services.


                                                 20
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 21 of 28




  74)    WHEREFORE, Plaintiff requests entry of judgment in her favor and against Defendant for

  the following relief:

         a.      A declaration that Defendant’s website is in violation of the ADA;

         b.      An Order requiring Defendant, by a date certain, to update its website, and continue

         to monitor and update its website on an ongoing basis, to remove barriers in order that

         individuals with visual disabilities can access, and continue to access, the website and

         effectively communicate with the website to the full extent required by Title III of the

         ADA;

         c.      An Order requiring Defendant, by a date certain, to clearly display the universal

         disabled logo within its website, wherein the logo 1would lead to a page which would state

         Defendant’s accessibility information, facts, policies, and accommodations. Such a clear

         display of the disabled logo is to ensure that individuals who are disabled are aware of the

         availability of the accessible features of the website;

         d.      An Order requiring Defendant, by a date certain, to provide ongoing support for

         web accessibility by implementing a website accessibility coordinator, a website

         application accessibility policy, and providing for website accessibility feedback to insure

         compliance thereto.

         e.      An Order directing Defendant, by a date certain to evaluate its policies, practices

         and procedures toward persons with disabilities, for such reasonable time to allow

         Defendant to undertake and complete corrective procedures to its website;




  1

                                                   21
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 22 of 28




        f.        An Order directing Defendant, by a date certain, to establish a policy of web

        accessibility and accessibility features for its website to insure effective communication

        for individuals who are visually disabled;

        g.        An Order requiring, by a date certain, that any third-party vendors who participate

        on Defendant’s website to be fully accessible to the visually disabled;

        h.        An Order directing Defendant, by a date certain and at least once yearly thereafter,

        to provide mandatory web accessibility training to all employees who write or develop

        programs or code for, or who publish final content to, Defendant’s website on how to

        conform all web content and services with ADA accessibility requirements and applicable

        accessibility guidelines;

        i.        An Order directing Defendant, by a date certain and at least once every three

        months thereafter, to conduct automated accessibility tests of its website to identify any

        instances where the website is no longer in conformance with the accessibility

        requirements of the ADA and any applicable accessibility guidelines, and further directing

        Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for

        review.

        j.        An Order directing Defendant, by a date certain, to make publicly available and

        directly link from its website homepage, a statement of Defendant’s Accessibility Policy

        to ensure the persons with disabilities have full and equal enjoyment of its website and

        shall accompany the public policy statement with an accessible means of submitting

        accessibility questions and problems.




                                                   22
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 23 of 28




         k.      An award to Plaintiff of her reasonable attorney’s fees and costs pursuant to in 42

         U.S.C. §§12181-12189, and pursuant to such other laws and statutes that may apply, and

         further relief as the Court deems just and equitable.



  COUNT II – TRESPASS

  Plaintiff realleges paragraphs 1 through 53 as if set forth herein.

  75)    Defendant’s website contains software analytics.               Since Plaintiff has navigated

  Defendant’s website as stated herein, Plaintiff’s computer and the personal information and

  browsing history stored therein, has suffered a trespass by Defendant.

  76)    Plaintiff never consented to and was unaware that Defendant’s website was placing

  software on her computer.

  77)    The “pop-up” or banner notice that appears on Defendant’s website does not properly

  audibilize the cookies policy in a way where a visually disabled person like the Plaintiff can

  properly understand or give informed consent to allow tracking cookies to be placed on her

  computer.

  78)    Defendant committed common law trespass in violation of Florida law against Plaintiff

  because Plaintiff did not consent to the placement of tracking and information securing software

  on her personal computer, which was done without her knowledge and consent.

  79)    Defendant’s trespass has damaged Plaintiff by affecting the condition and value of her

  computer.

  80)    On its website, Defendant has an internet privacy policy section that can only be accessed

  by clicking a barely visible section at the bottom of the page called “Cookies Policy”, providing

  that they use cookies and similar technologies to collect a consumer’s information and they obtain
                                                   23
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 24 of 28




  non-public information from their users for their own advertising and marketing purposes by

  placing software on its website that collects a website user’s preferences and internet browsing

  habits as follows:

         Cookies

         We may also collect information about how you use our website(s) or applications to help

         us better serve you. For example, we may do this when you click on a link from our

         website(s) or visit a website which displays our advertisements. This information is

         derived from cookies that identify the computer you used to access our website(s) or

         applications, and the cookies collect your server address; your top level domain name (for

         example .com, .nz, .gov, .au, .net, .edu, etc); the time and date of your visit to the

         website; the pages and documents you have accessed or viewed and the type of browser

         you are using.

         When we use cookies and other tracking technologies to collect your personal and non-

         personally identifiable information we are collecting this information to: better

         understand your browsing and purchasing behaviour; analyse and track website usage

         data; determine the popularity of certain content; deliver advertising and content targeted

         to your interest on our website; better understand your online activity; improve our

         website and your online experience; count the number of visits; and for other legitimate

         internal business purposes (together “re-marketing, traffic, demographics and interest

         reporting purposes”).

         We have engaged Google to provide advertisements on our behalf and to provide

         analytics services. Google may use cookies and other tracking technologies to collect
                                                   24
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 25 of 28




        non-personally identifiable information for re-marketing, traffic, demographics and

        interest reporting purposes via Google advertising cookies and anonymous identifiers.

        We have also engaged Rakuten to provide analytics services. Rakuten may collect

        personal information when you interact with our digital property, including IP addresses,

        digital identifiers, information about your web browsing and app usage and how you

        interact with our properties and ads for a variety of purpose, such as personalization of

        offers or advertisements, analytics about how you engage with websites or ads, and other

        commercial purposes. For more information about the collection, use and sale of your

        personal data and your rights, please use the below links:

        •   https://rakutenadvertising.com/legal-notices/services-privacy-policy/

        •   https://rakutenadvertising.com/legal-notices/subject-requests/

        WHY DO WE COLLECT YOUR PERSONAL INFORMATION?

        We may collect your personal information when required by law but generally we collect

        personal information from you (or about you) for the following business purposes and

        commercial purposes:

        •   Business Purposes:

               •   to enter into a contract with you to supply you with goods purchased

                   (including goods purchased via click and collect);

               •   to supply you with tailored products, services or offers that may benefit you;

        •   Commercial Purposes:

               •   to better communicate with you;

               •   to improve your experience with us;
                                                 25
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 26 of 28




                •   to notify you about our new products and services, discounts, promotions or

                    upcoming events; and

                •   for re-marketing, traffic, demographics and interest reporting purposes.

         Personal information we collect or receive will only be used for the stated purpose for

         which it was provided. We do not sell your personal information to third parties.

         WHAT IF YOU DON’T WANT US TO COLLECT YOUR PERSONAL

         INFORMATION?

         You do not have to provide us with any personal information unless you want to. For

         example, it is your choice as to whether you purchase our products or services or receive

         communications from us. If you choose not to provide us with your personal information,

         we may be unable to provide a product or service or deal with you.

         When you use our website or a web browser to search for our website or products, you

         can set your web browser to remove or reject cookies by selecting the appropriate settings

         on your browser. If you wish to opt-out of having your web browsing information used

         for re-marketing, traffic, demographics and interest reporting purposes, you must

         download and install Google Analytics Opt-out Browser Add-on

         (https://tools.google.com/dlpage/gaoptout). Removing or rejecting cookies may affect the

         availability and functionality of our website and updates to your web browser may affect

         the functionality of the Google Analytics Opt-out add-on.

  81)    Due to Plaintiff’s disability, she could not understand Defendant’s website and she could

  not give informed consent to Defendant’s installation of data and information tracking software


                                                 26
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 27 of 28




  on her computer. Plaintiff also could not give informed consent to Defendant’s collection of her

  browsing history and the placement of analytics on her computer.

  82)     Thus, Plaintiff has no adequate remedy at law to redress Defendant’s knowing and reckless

  disregard for Plaintiff’s right to exclude others from her computer and determine which programs

  should be installed and operated on her computer.



  WHEREFORE, Plaintiff demands judgment against Defendant for Plaintiff’s damages, interest,

  costs, and such further relief as the Court deems just and equitable.



                                     REQUEST FOR JURY TRIAL



        Plaintiff requests a jury trial.


                                                Submitted by:

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                                                  27
Case 1:23-cv-24605-JAL Document 1 Entered on FLSD Docket 12/06/2023 Page 28 of 28




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                                       28
